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Or.'wen Loan Servr`cr'rrg, LLC °
HBLP]NG HOMEOWNER.S IS WHAT WE DO!TM

MEN-MQRI§A£LEJ§AEKS]IE.§LQM
GMAC Mortgage § o c w r r

Notice of Servicing Transfer and Welcome to chen Loan Servicing, LLC

 

 

 

February 7, 2013

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JCHN RoBERT BEGLEY
CARRIE BELL BEGLE¥
1254 GREENVIEW LANE

 

GULF BREEZE FL 32553"3457 “’ `_‘ t
' Your Loan Account Details
as ol02f0412013 ~ ‘
Account Number:
- * A-rr~?i¢`
0601541399 ~ ‘4 "“’ ‘ " H "C"Wv
Derr JOHN ROBERT BE`GLEY and CARRIE BELL BEGLEY. Property Addrcss:
1254 GREEN VIEW I.ANE
The servicing of your mortgage loan, that is. the light to collect payments from you, is GULF BREEZE FL 32553
hensferring from your current serviccr, GMAC Mongage (“GMACM”) to your new scrviccr,
chcn Loan Servicing, LLC (“chen”) effective Febniary 16, 2013 . ~ Tmnsfel_ Date_
Rest assured this transfer of servicing does not affect any term or condition oftl:re mortgage 02/16/2013
documents, other than those directly related to the servicing cf your loan. 'I'here will be no
change to your account number cr payment nddress; only to the name ofthe company to which Pn'ncipal Ba|ance:
you make your payment All mailing addresses and phone numbers you previously used to $474 9]2_59
contact GMACM will remain the same but, as of February 16, 20l 3, they will be maintained '
by chen. You will condone to be served in a knowledgeable and professional manner, just as E B l _
you have in the past. sg°$gw a an°e'

GMACM will stop accepting payments on February 15, 2013. Oc\ven will begin to accept

payments on February 16, 20|3. Send all payments due on or after that date to chen. A L°m Rate;
temporary coupon is provided below for your convenience Any account notices prepared prior 6 750%

to Fehruary 16, 2013 will reflect GMACM; all notices prepared on or after Febmary 16, 2013 '

will reflect chen. In addition any payments received by GMACM ailchebruary 15, 2013

will automatically be processed by chen. N°"t Paym”m D“e:
311/2013

If you are currently using GMACM's automatic payment service, this program will continue

with no lapse in service. If you previously made your payment through GMACMortgage.com, payment Amoum;

on or after Februury 16, 2013 you can go to ocwen,mort&:gebanksite.com and use your same $3,372 71

login I`D and password for account eccess. If you use a 'rd party payment s"e'rvicc. please `

request they update their records to have payments made payable to
chcn Loan Servicing, LLC effective February l6, 2013.

censure GMACM is orr rubjerr orr bankruptcy proceeding federal raw requires either QF‘?‘°“; 179-im S‘i-"‘m"g’l-*LC
GMACM cr chen to send you this notice not more than 30 days alter the effective date of thc " ‘ "-‘ ellsme CBI'E
transfer of the servicing of your loan. In this case, all necessary information is combined in < 7 ‘ Conta¢t qum-mat[oo

this one notice Please review the reverse side of this letter for legal disclosurcs, notices and '

state requirements lt's our goal to make this transfer as seamless as possible >phone:

Enclosed are your (1) final GMAC Mortgage annual privacy notlce and {2) your 800'766'462_2

chen initial privacy notice that becomes effective with the start of your new Pcrsonal assistance:

customer relationship with chen. Please see the chen initial privacy notice for ‘ _ _ - _
important opt-out elections 6'00 a'm' 1000 p'm' CT M F

and 8:00 a.m. - 2200 p.m. Sat
We appreciate the opportunity to serve your home loan needs. lf you have questions

relating to the transfer of servicing please contact our Transfer Hotline at 24_h0u1- automated service
1-888-926-3479 weekdays from 8:00 AM to 7:00 PM, Ccntral '[‘ime. H` you have
questions about the general servicing of your loan please call GMACM Customer Care Bmai];
at 800-766-4622, 6:00 a.rn. - l0:00 p.m. CT M-F and 8:00 a.m. - 2:00 p.m. Sat. ocwm@mongagebanksite_com
Sinccrely, Sincereiy, Web;
ocwcn.rnortgagcbanksite.com

Charlcs R. Hoecker William C. Erbey _
Sr. Vice President, Customer Care President and ChiefExecmtivc Ofl`lcer gang 780

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GMAC Mortgage chen Loan Servrcmg, LLC Waterloo` IA 50704_0780
Enclosure(s)

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Important Information About This Transfer

RESPA Nntice: You should be aware of the following information, which is set out in more detail in Seetion 6 ofthe Reai Estate
Settlement Procedures Act (RESPA) (12 U.S.C. 2605):

During the 60-day period following the effective date of the transfer of the loan servicing, a loan payment received by your old
servicer before its due date may not be treated by the new loan servicer as late, and a late fee may not be imposed on you.

Section 6 of RESPA (12 U.S.C. 2605) gives you certain consumer rights If you send a qualified written request to your loan
servicer concerning the servicing of your loan, your servicer must provide you with a written acknowledgement within 20 Business
Days of receipt of your request A “qualilied written request” is a written correspondence other than notice on a payment coupon
or other payment medium supplied by the servicer, which includes your name end account number and your reasons for the request

Not later than 60 Business Days alter receiving your request, your servicer must make any appropriate corrections to your account
and must provide you with a written clarification regarding any dispute. During this 60-BusinessDay period, your servicer may
not provide information to a consumer reporting agency concerning any overdue payment related to such period or qualified

written request However, this does not prevent the seivicer from initiating foreclosure if proper grounds exist under the mortgage
documents

A Business Day is a day on which the offices of the business entity arc open to the public for carrying on substantially all of
its business limetions.

Section 6 of RESPA also provides for damages and costs for individuals or classes of individuals in circumstances where servicers
are shown to have violated the requirements of that section You should seek legal advice if you believe your rights have been
violated

Qunlilied Written Request: Eti`ective with the transfer date, please send all qualiiied written requests to: chen, ATTN: Customer
Care, P.O. Box 1330, Waterloo, IA 50704~1330.

Optlonal Insurance: The transfer of servicing rights may affect the term or the continued availability of mortgage life or disability or
any other type of optional insurance If you have been paying premiums for optional insurance coverage such as accidental death, life
or disabiliiy, your coverage will likely continue at the same or a comparable premium If a change of provider is necessary, you will
receive new policy information in a separate letter. If Orrwen is not able to continue your coverage, chen or GMACM will notify you
in writing.

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On]ine Services: lf you were previously using the GMACM website, you should continue to use your same username and password.
You will be redirected to ocwen.mortgagebanksite.com to complete the login process. You do not need to irc-enroll to continue using the
same online payment programs Any current online payment arrangements will continue uninterrupted through chen.

Payment by l’hone: If you previously scheduled a payment by phone through GM.ACM, this deduction will continue as scheduled

Automalic Payment: If you were previously using GMACM’s automatic payment service, this program will continue with chen with

ne lapse iu service. lfyou use a third party payment service, please request they update their records to have payments made to chen
Loan Servicing, LLC.

Payment by Check: If sending payment by check7 please be aware you are authorizing Oewen to usc information on this check to
make a one~tirne electronic debit to the account at the financial institution indicated on the check This electronic debit will be for the
amount on your check and no additional amount will be debited. Please be aware this bank account may be debited the same day chen
receives the check.

Homcowner’s Insurance: Notlce will be sent to your insinance carrier to provide the chen address information following the transfer.

Year-End: GMACM will provide a 2012 year~end IRS form 1098 statement consistent with how you may have received it in prior years
chen will provide a 2013 year-end IRS form 1098 that will include payments received in 2013 by G-MACM and chen.

Loan Mndilications: chen is committed to helping homeowners If you are currently on a trial modification plan or have a modification
review underway, this process will continue You should continue making your payments as required in the modification plan if you
recently submitted financial documentation to be considered for payment options, it is not necessary to re-send the documents to chen,
as the information will automatically transfer.

Short Sale: Any previously approved short sale offers or pending short sale negotiations will continue The original expiration date for
a previous short sale approval still applies; if it has expired, the approval is no longer valid.

Identity Thel't Notice: If you would like to obtain information regarding identity theit, you may contact the F ederal Trade
Corn.mission at http:/fwww.ftc.govfbcp/edu/microsites/idthelt/ OR by calling 1-877-ID»THEFT (1-877-43 8-4338).

Member_s of the Military and their Families: chen is committed to supporting its customers in the military. If you or a member
of your family are in the military, please contact chen effective with the transfer date. You may be eligible for certain rights and
protections under the Servicemembers Civil ReliefAct (SCR_A). Even if you are not eligible under SCRA, chen encourages you to

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REV. 12/2012-{-`\

FACTS __ WHAT DOES OCWEN FINANClAL CORPORATION DO W|TH YOUR
PERSONAL lNFORMAT|ON?

 

Financial companies choose how they share your personal information Federal law gives consumers the right
to limit some, but not ait, sharing, and requires us to tell you how we coilect, share, and protect your personal
information Please read this notice carefully to understand what we do_

 

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The types of personal information we collect and share depend on the product or service you have with us.
This information can include:

Socia| Seourity number and income
Account balances and payment history
Credit history and credit scores
Emp|oyment information

Mortgage rates and payments
Website usage

z . WH._'_._‘..

Al| financial companies need to share customers’ personal information to run their everyday business |n the `
section below, we list the reasons financial companies can share their customers’ personal information, the
l reasons chen chooses to share, and whether you can limit this sharing_

 

 

 

 

 

 

 

 

 

 

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' | l l`t_' `_l'.-* § _ r : _,T. l l
l
»` _ _
For our everyday business purposes--such as to process your §
transactions maintain your account(s), respond to court orders and legal ¥es ’ No
investigations or report to credit bureaus
For our marketing purposes--to offer our products and services to you l Yes No
__.__.___ ._ __ _______ ________,. . _______-________ J..__-__ _ ____ ……_.W
For joint marketing with other financial companies z Yes § No
__. ___________ ______ _____ ____ -_-____ _ ,...__ __________ ._ ____L___ _____ __ ii
For our affiliates’ everyday business purposes--inforrnation about your Yes § N°
transactions and experiences g §
For our aftiliates‘ everyday business purposes-infonnation about your
. _ Yes Yes
creditworthiness
For our affiliates to market to you lt Yes Yes
,_m,__ _ _ _ _ . __ _____M____________,__ ____§,_ _____________________,_ __________
For nonaffiliates to market to you ¥es i ¥es

 

 

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l Piease note: Aliy Financia|. incl an affiliate of your prior servicer. is assisting chen in
implementing your sharing preferences

-' Cali (BOO) 401-4622. The menu will prompt you through your choice(s), or

v \flsit Atly online: www_ally.comlprivacy and choose the “lv‘|anage My Privacy Preferences"
link

Please note: |f youl are a new customer, we can begin sharing your information 30 da§ from
the date we sent this notice. When you are no longer our customer, we continue to share your

information as described in this notice.
t-lowever, you can contact us at any time to authorize our sharing.

can isoo) 766»4622

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Scheduie of Staridard Servicing_ Feas for Ftorida

 

Fee Name

Fee Description

Estirnated Fee Amount

 

 

Balioon Resethast

Broi<er Price
Opinion (BPO)
inspection

Late Charges

'No'n Suifioient .
Ftinds (NSF) Fee

Pay by Phone

Payof_f Statement
Recording Fee

Subordinat`ion

Wire

Fee required to reset balloon loans or recast a loan when
loan documents allow for this functionl

Brokers or other qualified individuals provide an estimate
of the market value of property

inspections are performed to ensure that the property ls
occupied and appropriately maintained

Penalty charged to the borrower if a payment is received
past the grace days.

Fee charged-fora check that was appii`ed to the borrowers
account but returned unpaid by the borrowers depository
institution ibani<, savings bariit, eto)

One time charge to a borrower to make a payment using
the pay by phone service Use of this service is optional
Other payment options are available that have no
additional costs

Fee charged when a payoff statement is requested to be
mailed or taxed - .

Fee charged by the county recorders office to record the
release ! satisfaction when the ioan' is paid in-fuli.

'Prooessinglundenvriting tea to review new loan details and
.our existing second lien loan to consider permitting the new
-ioan t_o` have priority, or first iien position oyer our existing
-`seoond iien loan.

Fee assessed for wired payments Use of this service is
optional Cither payment options are available that have no
additionai costs

s1 701 stationnciudes hard
dollar costs which range by
county)
$83_00 - $150_00
$16.50 - `$42_00
Fees assessed according to loan

documents

NO CHARGE

$7.50 via phone
312.50 via customer service

NO CHARGE
$‘|0.00 - $'12.60

$’i 00_00

$7.50

Aii fees and amounts are subject to change without prior notice Additionai fees and amounts may apply depending
on your specific request and the status _of your loan.

 

 

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We collect your personal iriforrnr-)tioril for example when you:

Pay your bills or provide your mortgage information
mm dow gowen goliec.;_` mw lee us your contact information or provide employmei'it information
E]E#_Sonal in¥nn.nation? ’ c Give us your income in.oimaiion
’ Use our websiie

z We also coilect your personal information from others such as credit !)u:'eaus,
z affiliates or other companies

Fedei'al law gives you the right to limit only certain categories of sharing However.
state laws and individual companies may give you additional rights to iimit sharing
'-.l€’riy i:an’t t limit ali sharing? See below for more on your rights under state law

 
 
  

i happens when i authorize

ing for an accounti note Your choices will apply to everyone on your account
4.. diy vvir,i'z someone else?

Con~.panies related by common ownership cr con'troi, They can tie financial ana
nonfiiianctai companies

 

; " Our effi`ii`ates i':'zciude companies iv."f.'i an Oci;ve.~i narrie; fina-voter rex
' providers such as errr'on i'_oaii Servici`."ig i.P and Honieward Rssidentiei'. .‘i'.':

 

Compariies not rotated by common ownership or controi. They can be financial end
; nont":nanciat companies

Nonaffi`i'i'at‘es We share twin can inciucle:
Fi'nanoi'ai san/ice providers ._/such as consumer banks insurance oo:'n_c:-.“ni'es ..'-'
agencies orcompanies offering r”i‘nanci'eil and credit products or servicesj, or

 

Non~fi`nanci`ai companies (si;ch as techno!ogy, legai. hear'r'i'i, i:oiiie-reiaied, n;= ma
and communications service providers education/training entertainment
transportation automotive and marketing companies discount end .i:tc.‘»iiiui...
programs refai`iers, uli'iiti`ss__ or employ:iieirt resources).

 

 

A formal agreement between nonaffilieted financial companies that together ntarlia`i
financial products or services to you_

Ourjoi`ni‘ n'iai'i<'eti`ng partners include:

‘- Fi'nanci‘al service providers (such as mortgage lenders credit card companch
insurance companies companies offering financial and credit products or services
or non-profit finaiic."at and housing counseling organizations). cr

~ iven-financial companies ranch as technology iegal, neattfi. iionio-refafei".'. ,
and communications service providers education/training criteria ' i.
transportation automotive and marketing ccri'ipeni'es, discount and nier,-ioe."si:i`;.:
progran'is, retailers ui'i`i‘i.‘ies. orarn,oioyinentrescurces)

 

other imports st infori's'iatton

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PER$§§}NAL §§\§F§)§§§§§AT§GM?

Financial companies choose l'zowtl‘.ey sher‘e you ns zsona§ intormetion l`-eoe‘al isn r,-i\':-s sons-um
lo limit some but not e|l. sharing, end requ§.es us to te§l you how we collect she e and protest ‘_~r -

information Please read this notice carefullyr to understand what Wo do

The types of personal information We coliecl end shore depend on ins product or

This infonneiion can include
Sooiel Security nimmer end income
/f\ccount balances and payment h`i:tory
Credit history and credit scores
Enrployment information
§ i\/lor“tgege rates and payments
§ Weleiie usage

Alt financial companies need to share cusion'iers' personal information to run their ever};c£ey 'r.'usin'f “s. `zc

section beiow, We list the reasons financial companies can share their customers personal in'l'"or;'netlo,e, the

reasons chen chooses to share and whether you can limit this sharing

t`--;-r a;r,ar e\-'er=;,rciay §§v'.~:~iness ;‘.:L=rposes»-sucn as m process your
transactions maintain your account(s): respond to court orders ano. legal "!§§s
investigations or report to credit bureaus

 

 

     

   
     

 

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'.' §oi:i§ n:eil' . :=';ing \.-§'Ei:'i§ o’»-‘.l’z-<'~.r iinerrr;iei, r:on~.narrios res

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iii .,,or,..-‘ eng )m.er§' ence°

rior our ar"§ilia§ee" everyday business purposes~intormation about your \,N_

C.’editworthine$s " ""'

o mar.§et' to yor_i ¢_,-_.__

~".>F' ' .t. :'n§z:i'et r.n r' ‘.‘r.r-

 

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service you `:':.=.§~'.':: § ='

        

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implementing your eneran preferences
Cell (800)4{)'?-’§-622.'1"§12 rner.u Will prompt you through your :;='“loic.'-§(s), or

\-‘ Vis`:t All\; on§ inez \_»f_\.§‘.
link

 

-:l*ieese mta ;lS riot are a new customer, we can beam sherinc wasn .'
'i_lre date \Me§errt this notice l!\="nen yet l are no ranger nw custome¢. n

information as described in this notices
`r-lowe\rel', igoe cell contact us et €.;n.-' it=:".»e to ai.rt£'ron;;e oath sharing

  

call room rescissz

 

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Who`i_s-providing this notice? GMAC_MOdgage. LLC

 

Ploiw_does GMAC lil~iortg'agemm 1`f"c?prore`ct_y`our_;;»`erso'neHr‘{ioTn`z§ti"c>'n4from una"ihh“drize*ci”a`c§és§an?us§we res `

protect my persona| security measures that comply with federal iaw. These measures include computer
information? safeguards and secured files and buildings

ln addition, we maintain physica|, electronic and procedural saieguards and restrict
access to only those employees agents land subcontractors who need this

___ information to provide _g_ducte and services _t_o__ \rou.__ ____ _____ _

E'iow does GMAC |`iiiortgage We collect your personal information ior- exampie, When you
coi!ect my personal
infortnatiori?

 

Open an account or deposit money
Appiy for financing or provide account information
Pay your bills

We also collect your personal information from ctners, such as credit bureaus,
____ aiiiiiates, cr other companies
Why can’t l limit all sharing? Federal lawr gives you the right to iimit only

 

= sharing for affiiiates‘ everyday business purposes - information about your
creditworthiness

w affiliates from using your information to market to you

l altering for nonatfi|iates to market to you

State laws and individual companies may give you additional rights ic limit sharing;.

 

g __ d _______ ___ __ ,__.__. __, .__ ___.. _ ._,Me A.,¢u.._..~._.....___.»._., i..__. ._.~ -._. _

Aff§liates Companies related b%o§mo?owrw:§hlzc'i'§ntm -ThTeSr cent ce'?ina'.'iciai and
noniinancial companies
___ _ H GMAC Morigage does ncr share with our affil fates. _ ___ ____ _
Nonafi"iliates Cornpanies not related by common ownership or control They can be rinanciai ariz1
noniinancial companies

‘=' GMAC Mor_tga_qe does not share With non_a_r'r_'i`_lr'az‘es so they can rr.ailre eric yct.-. __ __
Joirt'i rt"rarketing A formal agreement between nonatfiliatec' financial companies thattorst.rer mart r. »;
financial products or services to you

 

 

 

 

 

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Jst_`.___.i___.r___

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Who is providing this notice?

eivrAc` iiiorrgage, tro

 

 

now cidé§_c§ili.'.\c inorigage
protect my personal
information?

 

How does G¢llrlAC l\.ffortgage“
collect roy personal
information‘?

_ We collect your personal information, for exaniple, when you

To protect your personal information from unauthorized access and use we usa
security measures that comply wi 'th federal law. l hess measures include computer
safeguards and secured files and buildings

in addition, we maintain physical, electronic and procedural safeguards and rt
access tc only those employees agents _and subcontractors who need this

s`1'i;;i

a Open an account or deposit money
Appiy for financing or provide account information

Pay your bills

r.l

st

We also collect your personal inio:'rnation from others sum as credit nure=:= r-‘

affiliates or other companies

  

 

1 very can’i 1 limit ali aharing?

 

Federal law gives you the right itc limit only

14

sharing for affiliates everyday business purposes ~ information about your
creditworthiness

affiliates from using your information to market to you

sharing for nonaifiliates to market to you

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n

State laws and individual companies may give you additional rights to limit sharing

 

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Ccmpanies related by common o_wnership oi col 1ircl 1 hey carl ide' 11112“1c.
non inancial companiesl
GMAC Mortgaqe does not share v_l/__i'tf_l___ our afiiffafes.

liftth

L".

 

i'\lona‘i"ffliates

Companies not related by common ownership or control The_v ca11 '3e fine nciol ':~::"
nonfinancial companies

51

GMAC M`on‘gage does not share with nonaffi'ffates so they can m art-ser to vo;_ .

 

Joint marketing

 

A formal agreement between nonaffiliated financial companies that together mail -,.
financial products or services to you.

 

GMAG Mortgag_e does nofjoirrtly rnarf§_e_t_.__

 

